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                                            1   THEODORE M. BECKER (admitted pro hac vice)
                                                tbecker@mwe.com
                                            2   JULIAN L. ANDRÉ (SBN 251120)
                                                jandre@mwe.com
                                            3   MCDERMOTT WILL & EMERY LLP
                                                2049 Century Park East
                                            4   Suite 3200
                                                Los Angeles, CA 90067-3206
                                            5   Telephone: +1 310 277 4110
                                                Facsimile: +1 310 277 4730
                                            6
                                                Attorneys for Defendant
                                            7   SPCP GROUP, LLC
                                            8                          UNITED STATES DISTRICT COURT
                                            9                        CENTRAL DISTRICT OF CALIFORNIA
                                           10                                    EASTERN DIVISION
                                           11   DANIELLE GAMINO, individually and             No. 5:21-cv-01466-SB-SHK
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                                                on behalf of all others similarly situated,
                                           12                                                 No. 5:20-cv-01126-SB-SHK
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                                                                    Plaintiff,                [Consolidated Case Number]
                            CHICAGO




                                           13
                                                      v.
                                           14
                                                SPCP GROUP, LLC,                              DEFENDANT SPCP GROUP LLC’S
                                           15                                                 ANSWER TO FIRST AMENDED
                                                                    Defendant,                COMPLAINT
                                           16         and
                                           17   KPC HEALTHCARE, INC. EMPLOYEE
                                                STOCK OWNERSHIP PLAN,
                                           18
                                                                    Nominal Defendant.
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                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1         Defendant SPCP GROUP, LLC (“SPCP”) answers the First Amended
                                            2   Complaint (5:21-cv-1466 Dkt. 21) (“FAC”) of Plaintiff DANIELLE GAMINO
                                            3   (“Plaintiff”), on information and belief, as follows:
                                            4     I. JURISDICTION AND VENUE
                                            5         1.     SPCP admits that Plaintiff purports to bring this action under Employee
                                            6   Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq.,, and
                                            7   that the Court has subject matter jurisdiction pursuant to ERISA § 502(e)(2), 29
                                            8   U.S.C. § 1132(e)(2).
                                            9         2.     SPCP denies that this Court has personal jurisdiction over SPCP.
                                           10         3.     SPCP denies the allegations in this paragraph.
                                           11         4.     SPCP admits that this action has been noticed as a related case to
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                                           12   Gamino v. KPC Healthcare Holdings Inc, et al., Case No.: 5:20-cv-01126-SB (SHK).
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                                           13         5.     SPCP admits that this purports to be an ERISA action on behalf of a
                                           14   “Class of participants in and beneficiaries of the KPC Healthcare, Inc. Employee
                                           15   Stock Ownership Plan,” although SPCP denies that this action may be maintained as
                                           16   a class action. SPCP denies that plaintiff seeks appropriate equitable relief or that
                                           17   SPCP knowingly participated in any breaches of fiduciary duties, prohibited
                                           18   transactions, or other violations of ERISA. SPCP admits that the claims “arise out of
                                           19   a transaction that took place on August 28, 2015 (the “2015 ESOP Transaction”)” but
                                           20   denies that plaintiff’s characterization and definition of that transaction is accurate.
                                           21   SPCP admits that Kali Pradip Chaudhuri (“Dr. Chaudhuri”) sold 100% of the stock
                                           22   of KPC Healthcare Holdings, Inc. to the KPC Healthcare, Inc. Employee Stock
                                           23   Ownership Plan (“ESOP”). SPCP denies all the remaining allegations in this
                                           24   paragraph.
                                           25         6.     SPCP admits that Plaintiff purports to seek to enforce her rights and
                                           26   those of other participants in the Plan under ERISA but denies any allegations of
                                           27   wrongdoing. SPCP denies that plaintiff seeks appropriate equitable relief or that
                                           28   SPCP knowingly participated in any breaches of fiduciary duties, prohibited
                                                                                   1
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1   transactions, or other violations of ERISA.
                                            2         7.     SPCP lacks sufficient information to admit or deny that “Plaintiff
                                            3   resides in the State of Georgia” and therefore denies the allegations in this paragraph.
                                            4         8.     SPCP admits it is a limited liability company organized under the laws
                                            5   of Delaware but otherwise denies the allegations in this paragraph.
                                            6         9.     SPCP denies that any alleged breaches occurred in the Eastern Division
                                            7   of the Central District of California. SPCP admits that this action has been noticed as
                                            8   a related case to Gamino v. KPC Healthcare Holdings Inc, et al., Case No.: 5:20-cv-
                                            9   01126-SB (SHK).
                                           10         10.    SPCP lacks sufficient information to admit or deny the allegations in
                                           11   this paragraph and therefore denies them.
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                                           12         11.    SPCP admits it is a limited liability company organized under the laws
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                                           13   of Delaware. SPCP denies the remaining allegations in this paragraph.
                                           14         12.    SPCP lacks sufficient information to admit or deny the allegations in
                                           15   this paragraph and therefore denies them.
                                           16         13.    SPCP admits that KPC is located in California. SPCP lacks sufficient
                                           17   information to admit or deny the remaining allegations in this paragraph and
                                           18   therefore denies them.
                                           19         14.    SPCP lacks sufficient information to admit or deny the allegations in
                                           20   this paragraph and therefore denies them.
                                           21         15.    SPCP admits that the FAC defines “Committee Defendants” as “the
                                           22   ESOP Committee and the members of the Committee.” SPCP lacks sufficient
                                           23   information to admit or deny the remaining allegations in this paragraph and
                                           24   therefore denies them.
                                           25         16.    SPCP admits that Alerus Financial, N.A. (“Alerus”) acted as Trustee of
                                           26   the ESOP in connection with the 2015 ESOP Transaction. SPCP lacks sufficient
                                           27   information to admit or deny the remaining allegations in this paragraph and
                                           28   therefore denies them.
                                                                                   2
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1         17.    SPCP admits Dr. Chaudhuri is the Chief Executive Officer of KPC and
                                            2   the chairman of its board of directors. SPCP lacks sufficient information to admit or
                                            3   deny the remaining allegations in this paragraph and therefore denies them.
                                            4         18.    SPCP lacks sufficient information to admit or deny the allegations in
                                            5   this paragraph and therefore denies them.
                                            6         19.    SPCP lacks sufficient information to admit or deny the allegations in
                                            7   this paragraph and therefore denies them.
                                            8         20.    SPCP admits that William E. Thomas is in-house counsel for KPC
                                            9   Healthcare Holdings, Inc. SPCP lacks sufficient information to admit or deny the
                                           10   remaining allegations in this paragraph and therefore denies them.
                                           11         21.    SPCP lacks sufficient information to admit or deny the allegations in
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                                           12   this paragraph and therefore denies them.
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                                           13         22.    SPCP admits that the FAC defines “Directors” as Dr. Chaudhuri, Kali
                                           14   Priyo Chaudhuri, Amelia Hippert, William E. Thomas, and Lori Van Arsdale.
                                           15         23.    SPCP admits that plaintiff purports to bring this action as a class action
                                           16   but denies that this is an appropriate class action.
                                           17         24.    SPCP denies that members of the Class are so numerous that joinder of
                                           18   all members is impracticable. SPCP lacks sufficient information to admit or deny the
                                           19   remaining allegations in this paragraph and therefore denies them.
                                           20         25.    SPCP denies the allegations in this paragraph and its subparagraphs.
                                           21         26.    SPCP denies the allegations in this paragraph.
                                           22         27.    SPCP denies the allegations in this paragraph.
                                           23         28.    SPCP denies the allegations in this paragraph.
                                           24         29.    SPCP denies the allegations in this paragraph.
                                           25         30.    SPCP denies the allegations in this paragraph.
                                           26         31.    SPCP denies the allegation that class certification is appropriate
                                           27   pursuant to Fed. R. Civ. P. 23(b)(1)(A). The remaining allegations in this paragraph
                                           28   state legal conclusions to which no response is required. To the extent a response is
                                                                                   3
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1   required, SPCP denies the remaining allegations in this paragraph.
                                            2         32.    SPCP denies the allegation that class certification is appropriate
                                            3   pursuant to Fed. R. Civ. P. 23(b)(1)(B). The remaining allegations in this paragraph
                                            4   state legal conclusions to which no response is required. To the extent a response is
                                            5   required, SPCP denies the remaining allegations in this paragraph.
                                            6         33.    KPC Defendants deny the allegation that class certification is
                                            7   appropriate pursuant to Fed. R. Civ. P. 23(b)(2). The remaining allegations in this
                                            8   paragraph state legal conclusions to which no response is required. To the extent a
                                            9   response is required, SPCP denies the remaining allegations in this paragraph.
                                           10         34.    KPC Defendants deny the allegation that class certification is
                                           11   appropriate pursuant to Fed. R. Civ. P. 23(b)(3). The remaining allegations in this
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                                           12   paragraph state legal conclusions to which no response is required. To the extent a
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                                           13   response is required, SPCP denies the remaining allegations in this paragraph.
                                           14         35.    The allegations in this paragraph state legal conclusions to which no
                                           15   response is required. To the extent a response is required, SPCP denies the
                                           16   allegations in this paragraph.
                                           17         36.    SPCP denies the allegations in this paragraph and subparagraphs.
                                           18         37.    SPCP admits that Integrated Healthcare Holdings, Inc. was formerly a
                                           19   publicly traded company. SPCP admits that Integrated Healthcare Holdings, Inc.’s
                                           20   Form 10-K for the year ended March 31, 2013, states, in part, as alleged.
                                           21         38.    SPCP lacks sufficient information to admit or deny the allegations in
                                           22   this paragraph and therefore denies them.
                                           23         39.    SPCP lacks sufficient information to admit or deny the allegations in
                                           24   this paragraph and therefore denies them.
                                           25         40.    SPCP lacks sufficient information to admit or deny the allegations in
                                           26   this paragraph and therefore denies them.
                                           27         41.    SPCP lacks sufficient information to admit or deny the allegations in
                                           28   this paragraph and therefore denies them.
                                                                                   4
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1         42.   SPCP lacks sufficient information to admit or deny the allegations in
                                            2   this paragraph and therefore denies them.
                                            3         43.   SPCP lacks sufficient information to admit or deny the allegations in
                                            4   this paragraph and therefore denies them.
                                            5         44.   SPCP lacks sufficient information to admit or deny the allegations in
                                            6   this paragraph and therefore denies them.
                                            7         45.   SPCP lacks sufficient information to admit or deny the allegations in
                                            8   this paragraph and therefore denies them.
                                            9         46.   SPCP denies the allegations in this paragraph.
                                           10         47.   SPCP lacks sufficient information to admit or deny the allegations in
                                           11   this paragraph and therefore denies them.
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                                           12         48.   SPCP lacks sufficient information to admit or deny the allegations in
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                            CHICAGO




                                           13   this paragraph and therefore denies them.
                                           14         49.   SPCP lacks sufficient information to admit or deny the allegations in
                                           15   this paragraph and therefore denies them.
                                           16         50.   SPCP lacks sufficient information to admit or deny the allegations in
                                           17   this paragraph and therefore denies them.
                                           18         51.   SPCP lacks sufficient information to admit or deny the allegations in
                                           19   this paragraph and therefore denies them.
                                           20         52.   SPCP lacks sufficient information to admit or deny the allegations in
                                           21   this paragraph and therefore denies them.
                                           22         53.   SPCP denies the information in this paragraph.
                                           23         54.   SPCP lacks sufficient information to admit or deny the allegations in
                                           24   this paragraph and therefore denies them.
                                           25         55.   SPCP lacks sufficient information to admit or deny the allegations in
                                           26   this paragraph and therefore denies them.
                                           27
                                           28
                                                                                   5
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1         56.    SPCP admits that on or about April 13, 2010, it acquired a common
                                            2   stock warrant entitling the holder to acquire shares of the common stock of
                                            3   Integrated Healthcare Holdings, Inc., and that the terms of the warrant are set forth in
                                            4   the formal warrant agreement. SPCP denies that it acquired the warrant in
                                            5   accordance with the “allegations recited in docket entry no. 211 in Gamino v. KPC
                                            6   Healthcare Holdings, Inc.”
                                            7         57.    SPCP lacks sufficient information to admit or deny the allegations in
                                            8   this paragraph and therefore denies them.
                                            9         58.    SPCP lacks sufficient information to admit or deny the allegations in
                                           10   this paragraph and therefore denies them.
                                           11         59.    SPCP admits that an Amended Schedule 13-D dated September 11, 2013
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                                           12   and filed with the Securities and Exchange Commission describes a contemplated
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                                           13   transaction involving Dr. Chaudhuri and Integrated Healthcare Holdings, Inc. SPCP
                                           14   denies that this paragraph accurately and completely characterizes the description of
                                           15   the contemplated transaction involving Dr. Chaudhuri and Integrated Healthcare
                                           16   Holdings, Inc. contained in the Amended Schedule 13-D and therefore denies the
                                           17   remaining allegations in this paragraph.
                                           18         60.    SPCP lacks sufficient information to admit or deny the allegations in
                                           19   this paragraph and therefore denies them.
                                           20         61.    SPCP lacks sufficient information to admit or deny the allegations in
                                           21   this paragraph and therefore denies them.
                                           22         62.    SPCP lacks sufficient information to admit or deny the allegations in
                                           23   this paragraph and therefore denies them.
                                           24         63.    SPCP lacks sufficient information to admit or deny the allegations in
                                           25   this paragraph and therefore denies them.
                                           26         64.    SPCP admits that Silver Point Capital, L.P. is a member of SPCP and the
                                           27   investment manager of SPCP. SPCP denies the remaining allegations in this
                                           28   paragraph.
                                                                                   6
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1         65.    SPCP lacks sufficient information to admit or deny the allegations in
                                            2   this paragraph and therefore denies them.
                                            3         66.    SPCP admits that Dr. Chaudhuri acquired 100% of the outstanding stock
                                            4   of Integrated Healthcare Holdings, Inc. through a series of transactions that took
                                            5   place in 2014 but lacks sufficient information to admit or deny the remaining
                                            6   allegations in this paragraph and therefore denies them.
                                            7         67.    SPCP lacks sufficient information to admit or deny the allegations in
                                            8   this paragraph and therefore denies them.
                                            9         68.    SPCP lacks sufficient information to admit or deny the allegations in
                                           10   this paragraph and therefore denies them.
                                           11         69.    SPCP lacks sufficient information to admit or deny the allegations in
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                                           12   this paragraph and therefore denies them.
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                            CHICAGO




                                           13         70.    SPCP lacks sufficient information to admit or deny the allegations in
                                           14   this paragraph and therefore denies them.
                                           15         71.    SPCP lacks sufficient information to admit or deny the allegations in
                                           16   this paragraph and therefore denies them.
                                           17         72.    SPCP admits that on August 28, 2015, the ESOP purchased 100% of the
                                           18   shares of KPC common stock. SPCP lacks sufficient information to admit or deny
                                           19   the remaining allegations in this paragraph and therefore denies them.
                                           20         73.    SPCP admits that it entered into a warrant purchase transaction with
                                           21   KPC, that a warrant purchase agreement is the formal documentation of that warrant
                                           22   purchase transaction, and that the terms of the transaction are set forth in that
                                           23   document. SPCP denies that the warrant purchase transaction took place “based on”
                                           24   the “allegations in docket entry no. 211 in Gamino v. KPC Healthcare Holdings,
                                           25   Inc.” SPCP denies that plaintiff has accurately and completely described “the
                                           26   Analysis of Transaction Fairness filed by the KPC Defendants at docket entry no.
                                           27   206-2 in Gamino v. KPC Healthcare Holdings, Inc.” SPCP denies that the warrant
                                           28   purchase transaction took place on April 13, 2010. SPCP denies that the warrant
                                                                                   7
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                            1   purchase transaction took place “as part of the 2015 ESOP Transaction.”
                                            2         74.   SPCP denies that plaintiff has accurately and completely described “the
                                            3   Analysis of Transaction Fairness filed by the KPC Defendants at docket entry no.
                                            4   206-2 in Gamino v. KPC Healthcare Holdings, Inc.”
                                            5         75.   SPCP lacks sufficient information to admit or deny the allegations in
                                            6   this paragraph and therefore denies them.
                                            7         76.   SPCP lacks sufficient information to admit or deny the allegations in
                                            8   this paragraph and therefore denies them.
                                            9         77.   SPCP lacks sufficient information to admit or deny the allegations in
                                           10   this paragraph and therefore denies them.
                                           11         78.   SPCP lacks sufficient information to admit or deny the allegations in
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                                           12   this paragraph and therefore denies them.
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                                           13         79.   SPCP denies the allegations in this paragraph.
                                           14         80.   SPCP lacks sufficient information to admit or deny the allegations in
                                           15   this paragraph and therefore denies them.
                                           16         81.   SPCP lacks sufficient information to admit or deny the allegations in
                                           17   this paragraph and therefore denies them.
                                           18         82.   SPCP lacks sufficient information to admit or deny the allegations in
                                           19   this paragraph and therefore denies them.
                                           20         83.   SPCP lacks sufficient information to admit or deny the allegations in
                                           21   this paragraph and therefore denies them.
                                           22         84.   SPCP lacks sufficient information to admit or deny the allegations in
                                           23   this paragraph and therefore denies them.
                                           24         85.   SPCP lacks sufficient information to admit or deny the allegations in
                                           25   this paragraph and therefore denies them.
                                           26         86.   SPCP lacks sufficient information to admit or deny the allegations in
                                           27   this paragraph and therefore denies them.
                                           28         87.   SPCP lacks sufficient information to admit or deny the allegations in
                                                                                   8
                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1   this paragraph and therefore denies them.
                                             2         88.      SPCP lacks sufficient information to admit or deny the allegations in
                                             3   this paragraph and therefore denies them.
                                             4         89.      SPCP admits that it was an investor in Integrated Healthcare Holdings,
                                             5   Inc. SPCP denies the remaining allegations in this paragraph.
                                             6         90.      SPCP denies the allegations in this paragraph.
                                             7         91.      SPCP admits that it entered into a warrant purchase transaction with
                                             8   KPC, that a warrant purchase agreement is the formal documentation of that warrant
                                             9   purchase transaction, and that the terms of the transaction are set forth in that
                                            10   document. SPCP denies that “the allegations recited in docket entry no. 211 in
                                            11   Gamino v. KPC Healthcare Holdings, Inc.” accurately describe the warrant purchase
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                                            12   transaction.
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                                            13         92.      SPCP denies the allegations in this paragraph.
                                            14         93.      SPCP lacks sufficient information to admit or deny the allegations in
                                            15   this paragraph and therefore denies them.
                                            16         94.      SPCP lacks sufficient information to admit or deny the allegations in
                                            17   this paragraph and therefore denies them.
                                            18         95.      SPCP lacks sufficient information to admit or deny the allegations in
                                            19   this paragraph and therefore denies them.
                                            20         96.      SPCP lacks sufficient information to admit or deny the allegations in
                                            21   this paragraph and therefore denies them.
                                            22         97.      SPCP lacks sufficient information to admit or deny the allegations in
                                            23   this paragraph and therefore denies them.
                                            24         98.      SPCP lacks sufficient information to admit or deny the allegations in
                                            25   this paragraph and therefore denies them.
                                            26         99.      SPCP lacks sufficient information to admit or deny the allegations in
                                            27   this paragraph and therefore denies them.
                                            28         100. SPCP lacks sufficient information to admit or deny the allegations in
                                                                                    9
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1   this paragraph and subparagraphs and therefore denies them.
                                             2         101. SPCP lacks sufficient information to admit or deny the allegations in
                                             3   this paragraph and therefore denies them.
                                             4         102. SPCP lacks sufficient information to admit or deny the allegations in
                                             5   this paragraph and therefore denies them.
                                             6         103. SPCP lacks sufficient information to admit or deny the allegations in
                                             7   this paragraph and therefore denies them.
                                             8         104. SPCP lacks sufficient information to admit or deny the allegations in
                                             9   this paragraph and subparagraphs therefore denies them.
                                            10         105. SPCP lacks sufficient information to admit or deny the allegations in
                                            11   this paragraph and therefore denies them.
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                                            12         106. SPCP lacks sufficient information to admit or deny the allegations in
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                                            13   this paragraph and therefore denies them.
                                            14         107. SPCP lacks sufficient information to admit or deny the allegations in
                                            15   this paragraph and therefore denies them.
                                            16         108. SPCP lacks sufficient information to admit or deny the allegations in
                                            17   this paragraph and therefore denies them.
                                            18         109. SPCP lacks sufficient information to admit or deny the allegations in
                                            19   this paragraph and therefore denies them.
                                            20         110. SPCP lacks sufficient information to admit or deny the allegations in
                                            21   this paragraph and therefore denies them.
                                            22                                          COUNT I
                                            23        Knowing Participation in Breaches of Fiduciary Duty Under ERISA §§
                                            24       404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) and (B), and Prohibited
                                            25               Transactions Under §§ 406(a)-(b), 29 U.S.C. §§ 1106(a)-(b)
                                            26         111. SPCP incorporates its preceding responses as though set forth herein.
                                            27         112. SPCP admits that ERISA § 406(a)(1) contains the quoted language but
                                            28   deny that Plaintiff quotes the entire provision.
                                                                                    10
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1         113. SPCP admits that ERISA § 3(14) contains the quoted language.
                                             2         114. This paragraph states a legal conclusion to which no response is
                                             3   required. To the extent a response is required, SPCP lacks sufficient information to
                                             4   admit or deny the allegations in this paragraph and therefore denies them.
                                             5         115. SPCP admits that ERISA § 408(e) contains one of the “Exemptions
                                             6   from prohibited transactions.” SPCP denies the remaining allegations in this
                                             7   paragraph.
                                             8         116. SPCP admits that ERISA § 3(18)(B) defines “adequate consideration,”
                                             9   but denies that Plaintiff quotes the entire definition. SPCP denies the remaining
                                            10   allegations in this paragraph.
                                            11         117. This paragraph states a legal conclusion to which no response is
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                                            12   required. To the extent a response is required, SPCP lacks sufficient information to
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                                            13   admit or deny the allegations in this paragraph and therefore denies them.
                                            14   Underlying Violation of ERISA § 406(b)
                                            15         118. SPCP admits that ERISA § 406(b) contains the quoted language, but
                                            16   denies that Plaintiff quotes the entire provision.
                                            17         119. This paragraph states a legal conclusion to which no response is
                                            18   required. To the extent a response is required, SPCP lacks sufficient information to
                                            19   admit or deny the allegations in this paragraph and therefore denies them.
                                            20         120. This paragraph states a legal conclusion to which no response is
                                            21   required. To the extent a response is required, SPCP lacks sufficient information to
                                            22   admit or deny the allegations in this paragraph and therefore denies them.
                                            23   Underlying Breaches of Fiduciary Duties
                                            24         121. SPCP admits that ERISA § 404(a)(1) contains the language in this
                                            25   paragraph but denies that Plaintiff provides the entire provision.
                                            26         122. This paragraph states a legal conclusion to which no response is
                                            27   required. To the extent a response is required, SPCP denies the allegations in this
                                            28   paragraph.
                                                                                    11
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1         123. SPCP admits that ERISA § 3(18) contains the language in this paragraph
                                             2   but denies that Plaintiff provides the entire provision.
                                             3         124. This paragraph states a legal conclusion to which no response is
                                             4   required. To the extent a response is required, SPCP lacks sufficient information to
                                             5   admit or deny the allegations in this paragraph and therefore denies them.
                                             6         125. This paragraph states a legal conclusion to which no response is
                                             7   required. To the extent a response is required, SPCP lacks sufficient information to
                                             8   admit or deny the allegations in this paragraph and therefore denies them.
                                             9   Knowing Participation by Defendant SPCP Group in Prohibited Transactions
                                            10   and Fiduciary Breaches
                                            11         126. SPCP admits that an Amended Schedule 13-D dated September 11, 2013
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                                            12   and filed with the Securities and Exchange Commission (“Amended Schedule 13-
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                            CHICAGO




                                            13   D”) describes a contemplated transaction involving Dr. Chaudhuri and Integrated
                                            14   Healthcare Holdings, Inc. SPCP denies that the Amended Schedule 13-D was “SPCP
                                            15   Group’s Amended Schedule 13-D.” SPCP denies that this paragraph accurately and
                                            16   completely characterizes the description of the contemplated transaction involving
                                            17   Dr. Chaudhuri and Integrated Healthcare Holdings, Inc. contained in the Amended
                                            18   Schedule 13-D and therefore denies the remaining allegations in this paragraph.
                                            19         127. SPCP denies plaintiff’s characterization of the statements contained in
                                            20   the Amended Schedule 13-D and therefore denies the allegations in this paragraph.
                                            21         128. SPCP denies the allegations in this paragraph.
                                            22         129. SPCP admits that it entered into a warrant purchase transaction with
                                            23   KPC, that a warrant purchase agreement is the formal documentation of that warrant
                                            24   purchase transaction, and that the terms of the transaction are set forth in that
                                            25   document. SPCP denies that the warrant purchase transaction took place “as part of
                                            26   the 2015 ESOP Transaction.” SPCP denies the remaining allegations of this
                                            27   paragraph.
                                            28         130. SPCP denies the allegations in this paragraph.
                                                                                    12
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1         131. SPCP admits that it entered into a warrant purchase transaction with
                                             2   KPC, that a warrant purchase agreement is the formal documentation of that warrant
                                             3   purchase transaction, and that the terms of the transaction are set forth in that
                                             4   document. SPCP admits that it was a party to an investor rights agreement entered
                                             5   into on August 28, 2015, and that the terms of the agreement are set forth in the
                                             6   formal documentation of that agreement. SPCP denies that it “participated in the
                                             7   2015 ESOP Transaction.” SPCP denies plaintiff’s description of “the Analysis of
                                             8   Transaction Fairness filed by the KPC Defendants at docket entry no. 206-2 in
                                             9   Gamino v. KPC Healthcare Holdings, Inc.”
                                            10         132. SPCP denies the allegations in this paragraph.
                                            11         133. SPCP denies the allegations in this paragraph.
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                                            12                              ENTITLEMENT TO RELIEF
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                                            13         134. SPCP denies the allegations in this paragraph.
                                            14                          SPCP’S AFFIRMATIVE DEFENSES
                                            15         In further answer to the FAC, SPCP alleges the following affirmative defenses.
                                            16   In asserting these defenses, SPCP does not assume the burden of proof as to matters
                                            17   that, pursuant to law, are Plaintiff’s burden to prove. Without waiving or excusing
                                            18   the burden of proof, SPCP asserts the following affirmative defenses:
                                            19                            FIRST AFFIRMATIVE DEFENSE
                                            20    ALLEGED UNDERLYING PROHIBITED TRANSACTIONS VIOLATIONS
                                            21                                          EXEMPT
                                            22         1.     Plaintiff brings her claim against SPCP solely under ERISA § 502(a)(3)
                                            23   for appropriate equitable relief due to SPCP’s alleged “knowing participation” in
                                            24   Alerus Financial, N.A. and Dr. Chaudhuri’s alleged ERISA violations, including
                                            25   prohibited transactions under ERISA §§ 406(a)(1)(A) and (D) and 406(b).
                                            26         2.     ERISA § 408 contains exemptions to the prohibited transaction
                                            27   provisions in ERISA § 406. A transaction that would otherwise be prohibited under
                                            28   ERISA § 406 is not prohibited if it falls into an exemption under ERISA § 408.
                                                                                    13
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1         3.      Plaintiff has the burden of proving that SPCP had actual or constructive
                                             2   knowledge that Alerus and Dr. Chaudhuri were engaging in non-exempt prohibited
                                             3   transactions under ERISA and that no exemptions in ERISA § 408 applied.
                                             4         4.      Plaintiff cannot prove that SPCP knew that the ESOP’s purchase of Dr.
                                             5   Chaudhuri’s stock was not exempt pursuant to one or more of the following
                                             6   exemptions:
                                             7                 a.    ERISA § 408(b)(3) provides an exemption for a loan to an
                                             8   employee stock ownership plan if the loan is primarily for the benefit of participants
                                             9   and beneficiaries of the plan and such loan is at an interest rate which is not in excess
                                            10   of a reasonable rate, and ERISA § 408(b)(3) allows a plan to give collateral if such
                                            11   collateral are qualifying employer securities.
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                                            12                 b.    To the extent Plaintiff is challenging the financing provided to the
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                                            13   ESOP, the financing was not in excess of a reasonable rate and was primarily for the
                                            14   benefit of the participants and beneficiaries of the ESOP.
                                            15                 c.    ERISA § 408(e) provides an exemption for the acquisition or sale
                                            16   by a plan of qualifying employer securities if such acquisition or sale is for "adequate
                                            17   consideration," if no commission is charged with respect thereto, and if the plan is an
                                            18   eligible individual account plan under ERISA § 1107(d)(3), which includes employee
                                            19   stock ownership plans.
                                            20                 d.    The ESOP’s purchase of Dr. Chaudhuri’s stock was for adequate
                                            21   consideration in accordance with ERISA § 408(e).
                                            22         5.      By stating that the ESOP’s purchase of Dr. Chaudhuri’s stock was not
                                            23   prohibited pursuant to the exemptions set forth above, SPCP does not admit that it
                                            24   has assumed the burden of proving the applicability of these exemptions. It is
                                            25   plaintiff’s burden to prove SPCP was aware that Alerus’s and Dr. Chaudhuri’s alleged
                                            26   ERISA violations were non-exempt. SPCP only states this defense to make clear it is
                                            27   not waiving any arguments based on the exemptions in ERISA § 408.
                                            28         6.      SPCP reserves its right to argue the applicability of other exemptions in
                                                                                    14
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                             1   response to claims or positions Plaintiff takes in this litigation.
                                             2                           SECOND AFFIRMATIVE DEFENSE
                                             3                                    WAIVER/ESTOPPEL
                                             4          7.    Plaintiff's claims are barred in whole or in part based on her acceptance
                                             5   of her benefits. Plaintiff requested and received a distribution of funds.
                                             6                            THIRD AFFIRMATIVE DEFENSE
                                             7                                         STANDING
                                             8          8.    Plaintiff's claims are barred in whole or in part because neither Plaintiff,
                                             9   any other participant or beneficiary, nor the Plan suffered damages and Plaintiff lacks
                                            10   standing to bring claims.
                                            11                          FOURTH AFFIRMATIVE DEFENSE
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                                            12                               STATUTE OF LIMITATIONS
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                                            13          9.    Plaintiff’s claims are barred by the statute of limitations in ERISA §
                                            14   413, 29 U.S.C. § 1113.
                                            15                            FIFTH AFFIRMATIVE DEFENSE
                                            16                      DAMAGES CAUSED BY OTHER PARTIES
                                            17          10.   Plaintiff’s alleged damages, if any, were caused by other parties over
                                            18   whom SPCP had no control and for whom SPCP had no responsibility.
                                            19                  RESERVATION OF RIGHT TO AMEND ANSWER
                                            20         SPCP reserves the right to amend this Answer to assert any additional
                                            21   affirmative defenses that may be uncovered or made known during the pendency of
                                            22   this case.
                                            23                                           PRAYER
                                            24         WHEREFORE, SPCP prays for judgment as follows:
                                            25          1.    Judgment in its favor as to all claims.
                                            26          2.    Attorneys’ fees and costs pursuant to ERISA.
                                            27          3.    Other relief as this Court deems just and proper.
                                            28
                                                                                    15
                                                      DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
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                                                  Dated: February 4, 2022    Respectfully submitted,
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                                                                             MCDERMOTT WILL & EMERY LLP
                                             4
                                             5                               By:   /s/ Theodore M. Becker
                                                                                   THEODORE M. BECKER
                                             6                                     JULIAN L. ANDRÉ
                                                                                   Attorneys for Defendant SPCP
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                                                     DEFENDANT SPCP GROUP LLC’S ANSWER TO FIRST AMENDED COMPLAINT
